                 Case 2:17-cr-00187-KJM Document 46 Filed 01/31/18 Page 1 of 2

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 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00187 GEB

12                                Plaintiff,             STIPULATION AND PROPOSED ORDER TO
                                                         CONTINUE JUDGMENT AND SENTENCING
13                          v.                           HEARING

14   KARI SCATTAGLIA, et al.,

15                                Defendants.

16

17          Plaintiff United States of America, by and through its attorney of record, Assistant United States

18 Attorneys Todd A. Pickles and Rosanne L. Rust, and defendants Kari Scattaglia and Lisa Terraciano,

19 and by and through their counsel of record, hereby stipulate:

20          1.      On November 3, 2017, defendants pled guilty to the sole-count in the information and the

21 matter was referred to the Probation Office for preparation of a pretrial investigation report. The matter

22 is presently set for a judgment and sentencing hearing on February 2, 2018.

23          2.      By this stipulation, the parties jointly request that this Court continue the judgment and

24 sentencing hearing until June 29, 2018 at 9:00 a.m.

25          3.      Because the defendants have pled guilty, the provisions of the Speedy Trial Act do not

26 apply to this request.
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      STIPULATION AND PROPOSED ORDER RE:                  1
30    CONTINUANCE OF INITIAL APPEARANCE
               Case 2:17-cr-00187-KJM Document 46 Filed 01/31/18 Page 2 of 2

 1          IT IS SO STIPULATED AND REQUESTED.

 2 Dated: January 29, 2018                                    MCGREGOR W. SCOTT
                                                              United States Attorney
 3
                                                      By: /s/ Todd A. Pickles
 4                                                        TODD A. PICKLES
                                                          ROSANNE L. RUST
 5                                                        Assistant United States Attorneys
 6 Dated: January 29, 2018                            By: /s/ Todd A. Pickles for
                                                          WILLIAM KROGER, Esq.
 7
                                                              Counsel for defendant Kari Scattaglia
 8

 9 Dated: January 29, 2018                            By: /s/ Todd A. Pickles for
                                                          CHRISTOPHER COSCA, Esq.
10
                                                              Counsel for defendant Lisa Terraciano
11

12
                                    [PROPOSED] FINDINGS AND ORDER
13
            The Court hereby continues the judgment and sentencing hearing to June 29, 2018 at 9:00 a.m.
14
     All dates previously set for the preparation of the Presentence Investigation Report and for the filing of
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     documents with the Court are reset consistent with judgment and hearing date of June 29, 2018.
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            IT IS SO FOUND AND ORDERED .
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            Dated: January 30, 2018
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      STIPULATION AND PROPOSED ORDER RE:                  2
30    CONTINUANCE OF INITIAL APPEARANCE
